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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

AMERICAN HOSPITAL ASSOCIATION, et al., )
                                          )
                      Plaintiffs,         )
                                          )      Civil Action No. 14-cv-00851 (JEB)
v.                                        )
                                          )
ALEX M. AZAR, in his official capacity as )
Secretary of Health and Human Services,   )
                                          )
                      Defendant.          )
_________________________________________ )

 DEFENDANTS’ STATUS REPORT AND RESPONSE TO PLAINTIFFS’ PROPOSED
                     NON-DEADLINE REMEDIES


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                                       INTRODUCTION

        Pursuant to this Court’s March 22, 2018 Order, the Secretary of the Department of

Health and Human Services (“HHS”) provides this memorandum to detail the progress of his

efforts to reduce the backlog and to provide a projection of when the backlog is expected to be

eliminated. This memorandum also responds to AHA’s proposed “non-deadline” remedies, and

explains why those proposed remedies are either unhelpful, impossible to implement, or would

actually worsen the backlog.

       To begin, AHA’s proposals cannot be justified based on the current record, which has

changed considerably since the Court last determined that mandamus relief was appropriate in

December of 2016. Indeed, the circumstances of the case have changed dramatically following

the Court’s last hearing in March of this year because Congress has since appropriated

significant additional funding to the Office of Medicare Hearings and Appeals (“OMHA”) that

will allow OMHA to hire numerous new ALJs and staff and more than double its current

adjudication capacity. Given this appropriation, HHS is now able to project that, with a

continuation of current funding levels, the Secretary will be able to eliminate the backlog

entirely in FY 2022.

       In addition to the new funding from Congress, the Secretary’s expanded settlement

initiatives have borne fruit. See Part II.B. Furthermore, the steady declines in appeals of RAC

determinations seen in FY 2017 have become even more pronounced in FY 2018: In the first

three quarters of this year, only 661 RAC-related appeals have reached OMHA, amounting to

1.4% of appeals received by OMHA this year. See Part II.A. The data show that AHA’s

fundamental premise underlying this litigation — that the RACs are the drivers of the backlog

and that further changes to the RAC program are needed to solve the problem —is no longer
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valid. AHA’s latest RAC-related proposals thus would not help to reduce the backlog but likely

threaten the economic viability of an already significantly curtailed program that Congress

requires to exist.

          AHA’s other non-deadline mandamus remedies similarly would not improve the backlog

but can be expected to create new incentives to file additional appeals and discourage settlement.

Moreover, throughout its brief, AHA mistakenly presumes that HHS is not acting in good faith,

which has no basis in the record and conflicts with the presumption of regularity accorded to

agency actions. See, e.g., CTIA–The Wireless Ass'n v. FCC, 530 F.3d 984, 989 (D.C.Cir.2008)

(“[W]e have long presumed that executive agency officials will discharge their duties in good

faith.”). In addition, AHA takes the position that the Court must order its proposed

programmatic changes as long as they are possible to implement. See Plaintiffs’ Response

Regarding Non-Deadline Remedies at 1, ECF No. 82. That argument is based on a misreading

of the D.C. Circuit’s decision in AHA II, which held that “a court may not require an agency to

render performance that is impossible,” Am. Hosp. Ass’n v. Price, 867 F.3d 160, 167 (D.C. Cir.

2017) (“AHA II”), and vacated and remanded with instructions for this Court to determine

whether it was possible for HHS to comply with the Court’s prior mandamus order requiring the

elimination of the backlog by December 31, 2020. Id. at 169. AHA II neither requires nor

authorizes some wide-ranging “possibility” inquiry untethered to the predicate for mandamus

relief.

          In weighing the equities, the Court should follow the D.C. Circuit’s guidance in AHA I,

where it stated that “if the district court determines on remand that Congress and the Secretary

are making significant progress toward a solution, it might conclude that issuing the writ is

premature” and instead order “the agency to submit status reports.” Am. Hospital Association v.



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Burwell, 812 F.3d 183, 193 (D.C. Cir 2016) (“AHA I”). Such is the case now. As noted,

Congress’s recent appropriation is projected, with the continuation of current funding levels, to

allow the Secretary to eliminate the backlog in FY 2022. Coupled with the significant progress

the Secretary has made to date (as explained below), mandamus relief is premature at this time.

Instead, the Court could simply order the Secretary to submit status reports to apprise the Court

of his progress. Id. at 193 (on remand, court could consider ordering status reports).

       The Secretary will provide below a report of the progress HHS has made in eliminating

the backlog and a response to AHA’s proposals.

I.     STATUS UPDATE ON THE EFFORTS TO ELIMINATE THE BACKLOG.

       For years, HHS has explained that its ability to eliminate the backlog of appeals pending

at OMHA is dependent on Congress appropriating additional funds to hire new ALJs. The

agency’s repeated requests have finally been answered. On March 23, 2018, Congress

appropriated $182.3 million for OMHA to address the issue of the Medicare appeals backlog.

See Consolidated Appropriations Act, 2018, Pub. L. No. 115-141, tit. II, 132 Stat. 348, 739

(2018). This represents a 70% increase over the amount appropriated for fiscal year 2017. See

August 3, 2018 Declaration of Nancy J. Griswold (“Aug. 3, 2018 Griswold Decl.”) ¶ 3, Ex. 1.

With this additional appropriation, OMHA plans to increase ALJ staffing by approximately 80

ALJs and 600 new positions over the next 14 months. Id. When fully staffed, OMHA will have

a total of approximately 170 ALJ teams onboard. This is projected to enable OMHA to resolve

around nearly 188,000 appeals per year, more than doubling its FY 2017 disposition capacity

level of approximately 85,000 appeals. See Long-term Projections FY 2018 Q3, Ex. 2; see also

Medicare Appeals Dashboard, Ex. 3

       OMHA’s adjudication capacity in FY 2017 was not enough to keep pace with the almost

113,000 new receipts received by OMHA in that year, resulting in an additional 28,000 appeals
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added to the backlog. Id. Thus, prior to the recent Congressional appropriation, and

notwithstanding OMHA’s success at maximizing its adjudication capacity at then-current

funding levels, the backlog was expected to continue to grow. Now, in light of the new funding,

OMHA will be able to process thousands more appeals each year than it receives. HHS projects

that, at current funding levels, OMHA’s adjudication capacity will increase over FY 2017 levels

by 23% in FY 2018, 42% in FY 2019, 108% in FY 2020, and approximately 122% in FY 2021

and 2022. See Long-term Projections FY 2018 Q3.

       Along with the Secretary’s success at reducing the number of appeals entering the

system, see, e.g., Part II.A (addressing declines in RAC-related appeals), and the settlement of

over 465,000 backlog-related appeals, see Part II.B, this increased adjudication capacity is

projected, at a continuation of current funding levels, to eliminate the backlog entirely in FY

2022. Declaration of Norris W. Cochran ¶ 4, Ex. 4.

       To be clear, even with the infusion of congressional appropriations, absent additional

legislative action, compliance remains impossible with the Court’s previous mandamus order

requiring the elimination of the backlog by December 31, 2020, with fixed percentage reductions

in the preceding years, and thus, the Court should not reissue it. See AHA II, 867 F.3d at 166,

170. The Secretary respectfully refers the Court to the Secretary’s prior briefing demonstrating

why it is impossible to do so. See Sec’s Mem. in Supp. of Mot. for Summ. J. at 7-28, ECF No.

66-1; Sec’s Reply Br. at 5-12, ECF No. 75. Among other reasons, the Secretary will not be able

to settle the appeals in the backlog en masse given the thousands of appeals from providers with

open Department of Justice investigations and other program-integrity concerns. Sec’s Reply Br.

at 9-10.




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        The writ of mandamus is an extraordinary form of relief that is inappropriate if the

political branches are taking meaningful steps to resolve the problem and are doing so in good

faith with all deliberate haste. See AHA I, 812 F.3d at 192-94; see also In re Medicare

Reimbursement Litig., 414 F.3d 7, 10 (D.C. Cir. 2005) (even where the legal requirements for

mandamus jurisdiction are satisfied, “a court may grant relief only when it finds compelling

equitable grounds” for doing so) (citation and internal punctuation omitted); CTIA–The Wireless

Ass'n , 530 F.3d at 989 (presuming that “executive agency officials will discharge their duties in

good faith.”).

II.    SECRETARY’S RESPONSE TO AHA’S PROPOSED “NON-DEADLINE”
       MANDAMUS REMEDIES.

       In accordance with the Court’s order, the Secretary addresses each of AHA’s proposed

remedies and identifies whether it is “possible” or “helpful” for the agency to implement the

proposal. Some of AHA’s proposals would violate federal law (such as its proposals to

incorporate a financial penalty into the RAC Statement of Work and to reduce the rate of interest

applied to overpayment determinations). But even for the proposals that are “possible” to

implement, they would not improve the backlog, and, if anything, would make the backlog

worse. Therefore, the Court should not order these proposed mandamus remedies, even if such

programmatic relief were a proper form of mandamus relief, which it is not. Under the

Mandamus and Venue Act, 28 U.S.C. § 1361, a district court has “jurisdiction [over] any action

in the nature of mandamus to compel an officer or employee of the United States or any agency

thereof to perform a duty owed to the plaintiff.” 28 U.S.C. § 1361. Thus, mandamus authorizes

a court to issue an order to comply with a clear, non-discretionary duty and nothing more. See

AHA I, 812 F.3d at 191 (while AHA “seeks to compel the Secretary to make decisions within the

statutory time frames,” AHA acknowledges that “the means the Secretary uses to ensure they are


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reached in a timely fashion are discretionary”). Mandamus simply does not authorize this Court

to order AHA’s wish list of changes to the agency’s operations, which are injunctive in nature

and thus not available via a writ of mandamus. See Wolcott v. Sebelius, 635 F.3d 757, 766 (5th

Cir. 2011) (“The plain language of § 1361 is clear that it only grants jurisdiction to consider a

mandamus action; it does not grant jurisdiction to consider actions asking for other types of

relief—such as injunctive relief.”); cf. In re Barr Labs., Inc., 930 F.2d 72, 74 (D.C. Cir. 1991)

(“respect for the autonomy and comparative institutional advantage of the executive branch has

traditionally made courts slow to assume command over an agency's choice of priorities”);

Norton v. Southern Utah Wilderness Alliance, 542 U.S. 55, 66 (2004) (emphasizing the need to

“protect agencies from undue judicial interference with their lawful discretion, and to avoid

judicial entanglement in abstract policy disagreements which courts lack both expertise and

information to resolve”).

       A.      The Court Should Deny Plaintiffs’ Request To Impose Further
               Limitations On The RACs Beyond Those Already Implemented By HHS.

       AHA requests that this Court restructure the RAC program to impose steep financial

penalties on RACs, as well as to prevent RACs from reviewing any hospital claims. Plaintiffs’

Response Regarding Non-Deadline Remedies at 2-4. These proposals, which have no support in

the record, would not have any impact on the backlog, but instead threaten the viability of the

RAC program — a program that Congress mandates to exist.

               1.      Steady Declines In RAC-related Appeals.

       The Government has previously detailed the Secretary’s successful efforts to settle

approximately 341,000 RAC-related appeals in the backlog, Sec’s Reply Br. at 18, such that

RAC appeals now represent only 12.6% of the appeals pending at OMHA (down from 58% in

FY 2015). Aug. 3, 2018 Griswold Decl. ¶ 6. In addition, the Government explained that the


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new controls and limitations placed on the RACs by the agency have resulted in steep declines in

new RAC-related appeals reaching OMHA. See Sec’s MSJ at 22-25; Sec’s Reply Br. at 18-21;

see also Declaration of George Mills. ¶¶ 4-9, ECF No. 66-5. These changes include a number of

procedural adjustments to the RAC program, including restricting the number of topics RACs

can review, limiting their authority to request additional documents, and limiting the lookback

period for inpatient-status appeals (a type of claim that was one of the short-term drivers of the

backlog). See Sec’s Reply Br. at 20; Mills Decl. ¶ 9c. In addition, the new RAC contract and

Statement of Work (SOW) includes requirements for RACs to maintain an accuracy rate of over

95% as determined by an independent contractor and an overturn rate of less than 10% at the

first level of appeal. Sec’s Reply Br. at 20. Failure to do so will result in CMS taking necessary

corrective action against the RAC, including the option to terminate the contract. See Mills Decl.

¶ 7c. The RAC SOW also includes financial inducements for achieving results beyond these

minimum requirements. Id. ¶ 7a-b.

       In FY 2017, a year after the RACs became fully operational under the new SOW, RAC-

related appeals amounted to only 12% of incoming appeals at OMHA. Sec’s Reply Br. at 19-20.

This is in stark contrast to FY 2013 and 2014, when appeals from RAC determinations were one

of the drivers of the backlog and made up over 50% of new appeals reaching OMHA in these

years. Aug. 3, 2018 Griswold Decl. ¶ 6. The most recent data from the first three quarters of

this fiscal year show an even greater decline in RAC-related appeals from FY 2017. For the first

three quarters of FY 2018, only 661 RAC-related appeals have reached OMHA, amounting to a

mere 1.4% of total appeals received by OMHA this year. Id. ¶ 6. In short, the last six quarters of

data spanning the past 18 months show a continual and steady decline in RAC-related appeals

reaching OMHA:



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           •   Q2, FY 2017: 4,325 RAC receipts

           •   Q3, FY 2017: 2,097 RAC receipts

           •   Q4, FY 2017: 1,360 RAC receipts

           •   Q1, FY 2018: 384 RAC receipts

           •   Q2, FY 2018: 127 RAC receipts

           •   Q3, FY 2018: 150 RAC receipts

Cochran Decl. ¶ 4. These numbers demonstrate that the agency’s efforts to reshape the RAC

program have succeeded in reducing RAC-related appeals. The former flood of RAC-related

appeals has now turned into a tiny trickle. Therefore, imposing additional constraints on the

RACs —beyond the measures already instituted by the Secretary — would have no impact on

the backlog.

               2.     AHA’s Proposal To Impose A Financial Penalty On The RACs.

       In spite of the data showing that RACs are no longer part of the backlog problem, AHA

persists in seeking to impose significant financial penalties on RACs and requests that this Court

order the agency to restructure the RAC SOW to “impose a 25% financial penalty on RACs with

a greater-than-40-percent overturn rate at the ALJ level in a given quarter.” Plaintiffs’ Response

Regarding Non-Deadline Remedies at 2. As the Government has explained at length in prior

briefing, this proposal is not possible to implement because it would amount to an illegal

liquidated damages provision barred by federal contracting law. See ECF No. 41 at 27-28.

AHA’s attempt to get around this restriction — specifically, its proposal to dramatically reduce

the current contingency fee in the RAC contract and then pay a higher contingency fee when




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RACs maintain a greater than 40-percent-accuracy rate at the ALJ level (Br. at 4) — is still an

illegal penalty in substance even if it is dressed up as a financial incentive. 1

        AHA is also wrong that the agency imposes penalties on RACs in the current RAC SOW.

See Plaintiffs’ Response Regarding Non-Deadline Remedies at 3-4. AHA’s brief refers to a

draft RAC SOW that went out to bid, but was never finalized. August 3, 2018 Declaration of

George G. Mills ¶ 4 (“Mills August 3, 2018 Decl.”), attached as Ex. 5. The current operative

RAC SOW does not contain any penalty provision. Id. ¶ 3.

        More fundamentally, there is no need to impose a financial penalty on the RACs since the

existing RAC payment structure and incentives are having the desired effect. See supra

(explaining requirements and incentives for accuracy in RAC SOW). The proof of this is

undeniable: only 661 RAC-related appeals reached OMHA in the first three quarters of this year.

Cochran Decl. ¶ 4. And AHA fails to explain why imposing a penalty on top of the existing

RAC initiatives would have more than a marginal impact on the OMHA backlog, if at all.

AHA’s RAC-related proposal is a solution in search of a problem. 2


1
 In addition, ALJ overturn rates are an imprecise measure of a RAC’s accuracy. While the
RACs are bound to follow CMS program guidance and local coverage decisions, ALJs are only
required to give these policies substantial deference. See 42 C.F.R. § 405.1062; Mills August 3,
2018 Decl. ¶ 5. That is why the current SOW requires RACs to maintain an overturn rate of less
than 10% at the first level of the administrative appeals process conducted by the Medicare
Appeals Contractor (MAC). See Mills Decl. ¶ 7a, ECF No. 66-5. The MACs and the RACs are
bound by the same rules in reviewing determinations.
2
 Contrary to AHA’s unsupported claim, the RACs, even before the new SOW, did not identify
overpayments in all, or even most, hospital claims. According to the most recent RAC Report to
Congress (FY 2015), for complex reviews (where the RAC reviews the medical record and other
documentation), the rate at which RACs found errors was only 17.9%. See Appendix H-1 of the
FY 2015 RAC Report to Congress, https://www.cms.gov/Research-Statistics-Data-and-
Systems/Monitoring-Programs/Medicare-FFS-Compliance-Programs/Recovery-Audit-
Program/Downloads/FY2015-Medicare-FFS-RAC-Appendices.pdf. Finding an overpayment
when not warranted in the hopes of payment would not be a sustainable business model because
RACs receive no contingency fee if they lose on appeal before an ALJ, or at any level of appeal


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                3.      AHA’s Proposal To Transfer All Hospital Claims From RACs to
                        Another Medicare Contractor.

         In addition to proposing a modification of the RAC SOW to impose legally

impermissible and unnecessary financial penalties, AHA also requests that this Court order the

agency to require that any new reviews of hospital claims that would have been performed by

RACs instead be performed by another contractor, known as Quality Improvement Organizations

(QIOs). 3 See Plaintiffs’ Response Regarding Non-Deadline Remedies at 4-5. Again, there is no

justification for making such a drastic change since the Department’s changes to the RAC

program have been so successful at reducing incoming appeals. See, e.g., Cochran Decl. ¶ 4.

(661 appeals from RAC determinations have reached OMHA in the first three quarters of FY

2018).

         As an initial matter, Plaintiffs’ proposal is in tension with Congress’s adoption of the

RAC program, which occurred well after the QIO program was already in place. See 42 U.S.C.

§ 1320c-3; Pub. L. No. 97-248, 96 Stat 324 (1982) (creation of the QIOs, previously called Peer

Review Organizations). If Congress had intended QIOs to conduct all hospital post-pay reviews,

it would not have specified that RACs are to identify overpayment and underpayments and

recoup overpayments “with respect to all services for which payment is made under [Medicare]”

and be paid on a contingency-fee basis on the amounts the RAC recovered. See 42 U.S.C.



for that matter. That creates a strong incentive not to be overturned. Furthermore, RACs must
now comply with the accuracy requirements of the new SOW or face the possible termination of
their contracts. See Mills Decl. ¶¶ 7-8, ECF No. 66-5.
3
 The Secretary previously transferred a certain type of hospital claim (known as an inpatient-
status claim) from RACs to the Medicare Administrative Contractors (MAC) and then to the
QIOs to allow providers time to comply with the newly clarified inpatient stay rule and to
provide education to providers on claims submitted after that rule. Mills Decl. ¶ 9c, ECF No. 66-
5; Iwugo Decl. ¶ 4

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§ 1395ddd(h)(1) (emphasis added). And AHA’s proposal is also in tension with the contingent-

fee payment structure that Congress established in the RAC program for post-payment review,

where RAC payments are based on the overpayments collected as a result of a RAC’s review,

while QIOs are paid on a per-claim basis out of the Medicare Trust Funds. See Declaration of

Jeneen Iwugo ¶ 8, Ex. 6.

       Moreover, HHS anticipates that transferring post-payment review of all hospital claims to

QIOs would involve extensive capacity building and training and could take at least a year. See

Iwugo Decl. ¶¶ 6-7; Mills Aug. 3, 2018 Decl. ¶ 7. In the interim, fewer reviews of hospital

claims necessarily would mean fewer program integrity checks to find payment errors, abuse,

and fraud, which would undermine the Department’s ability to maintain the financial integrity of

the Medicare Trust Funds. Indeed, AHA fails to show that transferring hospital claim review to

another contractor would speed up the elimination of the existing backlog aside from reducing

the number of claims that are reviewed for accuracy.

       On the other hand, withdrawing the entire universe of hospital claims from the RAC’s

purview could very well deter companies from bidding on RAC contracts and threaten the

continued existence of the RAC program. Mills Decl. ¶ 10. Starting with the new RAC SOW,

CMS requires the RACs to review different types of claims, which ensures the RACs are

focusing on areas susceptible to high error rates and are not targeting only one provider or claim

type. Id. ¶ 9. As a result, in order to remain financially viable, RACs need to be able to review

high-dollar claims to compensate for their review of low-dollar claims, and most of the high-

dollar claims are from hospitals. Id. ¶ 10. The economic viability of being a RAC would be

threatened if all hospital claims were transferred to QIOs. This is not an idle concern. After the

new RAC SOW and other restrictions were put in place, one existing RAC did not bid on the



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new contract. Id. ¶ 9. And as AHA points out, the RAC trade-industry association has

complained that “[t]he significant scale back of the RAC program over the past few years has

caused [RACs] to lose the ground we had previously gained.” Plaintiffs’ Response Regarding

Non-Deadline Remedies at 3. In addition to the six quarters of data showing a steep and steady

decline in RAC-related appeals, Cochran Decl. ¶ 4, the complaints from the RAC trade

association are a testament to the meaningful nature of the agency’s restructuring of the RAC

program.

       Essentially acknowledging the reality that the RACs are no longer a problem, AHA

suggests that if the Court does not order its RAC-related proposals, the agency may be “tempted

in the future once again to use questionable tactics targeting high-dollar hospital claims to

increase RAC receipts.” See Plaintiffs’ Response Regarding Non-Deadline Remedies at 3. The

agency’s good faith commitment to resolving the backlog should be presumed. The agency has

settled hundreds of thousands of RAC-related appeals in the backlog and instituted a number of

changes to the RAC program that have been remarkably successful. See supra. Moreover, by

design, the agency’s RAC-related changes impose new controls over the RACs. Id. These

controls will prevent a return to the state of affairs when RACs were significant contributors to

the backlog. In contrast, AHA’s RAC-related proposals have no support in the present record

and should be denied.

       B.      AHA’s Proposal For This Court To Dictate The Terms Upon Which HHS
               Makes Settlement Offers And For HHS To Report On The Details Of
               Confidential Settlement Communications Should Be Rejected.

       AHA has proposed a mandamus order in which the Department would be compelled to

make a settlement offer to every provider who participates in the Settlement Conference

Facilitation (SCF) program “based on the claimant’s historical success rate at the ALJ level or

the historical success rate at the ALJ level for claims of a similar kind.” Id. Plaintiffs’ Response
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Regarding Non-Deadline Remedies at 6. AHA’s argues that its proposal is needed because, “[a]s

it stands, HHS does not promise that it will make a settlement offer or that the settlement offer

will bear any relation at all to the strengths and weaknesses of its position.” Id. at 7. AHA is

mistaken, and its proposed mandamus remedy would likely lead to an increase, not a reduction,

in the backlog.

       Despite AHA’s claims to the contrary, CMS already provides good-faith, evidence-based

settlement offers to all providers who participates in the SCF. See August 3, 2018 Declaration

of Sherri G. McQueen (“McQueen August 3, 2018 Decl.”) ¶ 5, Ex. 7. This offer is based on “the

provider’s historical overturn rate on appeal at the Administrative Law Judge level,” as well as

“the type of item or service at issue, “the governing policy regarding the item or service at

issue,” “the cost to the Department for adjudicating the appeals at issue,” and “a sample of

provider's claims.” Id.

       In addition, CMS now offers an express SCF option in which it automatically makes a

settlement offer to all eligible providers “based on preliminary data available to CMS, e.g., ALJ

overturn rates, cost of adjudication, and type of claim or service.” McQueen Aug. 3, 2018 Decl.

¶ 6. The provider need not participate in an individual SCF negotiation to receive this offer, but

can choose to take the SCF Express offer or proceed to the full SCF process. Id.

       As this makes clear, the SCF process already operates largely along the lines of

Plaintiff’s mandamus proposal. The key difference is that the provider’s past success rate or the

success rate for similar claims at the ALJ level are not the sole criteria upon which CMS bases its

settlement offers. Instead, SCF is a mediation program designed to take into account the

individualized information from providers to arrive at a more tailored settlement offer.

Requiring CMS to mechanically apply AHA’s chosen settlement formula would not improve the



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current process. Indeed, given the low average success rate of providers at the ALJ level —

30.7% in FY 2017 and 26.6% in FY 2018 (as of April 16, 2018) 4 — this formula would worsen

the prospects of settlement for some providers.

          Beyond proposing to dictate how CMS makes settlement offers, AHA demands that the

Department file a report with the court in cases where settlement is not reached “(1) detailing the

settlement offer made to the provider or supplier, including the evidence supporting the

settlement offer, (2) the provider’s or supplier’s last, best, and final counteroffer, if any, and (3)

HHS’s reasons for not accepting the provider’s or supplier’s final counteroffer.” Plaintiffs’

Response Regarding Non-Deadline Remedies at 6. There is no justification for this intrusion

into the confidential settlement communications between CMS and providers that participate in

the SCF, or into CMS’s reasons for not accepting a counteroffer, which would reveal litigation

assessment and strategy. If implemented, this proposal would discourage providers from

entering into settlement talks lest their confidential settlement offers become public knowledge.

While AHA allows that these reports can be submitted “under seal, if necessary,” see Plaintiffs’

Response Regarding Non-Deadline Remedies at 6, many providers would still be wary of having

the details of their private settlement offers subject to review by an Article III court. Moreover,

the work that would be required to provide this type of information to the Court on a quarterly

basis would divert scarce resources away from the very settlements at issue, which could reduce

the number of appeals settled. It would also impose a significant strain on the Court if the Court

were to function as the superintendent of all unsuccessful settlements, which is decidedly not the

Court’s role, whether or not in the context of mandamus.



4
    https://www.hhs.gov/about/agencies/omha/about/current-workload/decision-statistics/index.html.


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       AHA apparently believes that the Department does not have a real interest in settling

appeals in the backlog and must be told how to settle claims and then be policed by the Court.

That suggestion is untenable in light of HHS’s demonstrated commitment to resolving appeals in

the backlog. As the Secretary has explained, CMS’s Hospital Appeals Settlement process

(HASP) settled over 380,000 inpatient status appeals. McQueen Decl. ¶ 7, ECF No. 66-6. In

addition, the agency has implemented a new settlement initiative for low-volume appellants

(LVA), defined both in terms of the number of appeals the provider has in the backlog (fewer

than 500) and the value of the individual appeals ($9,000 or less). Id. ¶ 11a. As of June 30,

2018, CMS has settled 13,315 appeals as part of the LVA initiative. McQueen Aug. 3, 2018

Decl. ¶ 3. And CMS expects to eventually settle over 25,000 appeals through LVA. Id.

       As of July 31, 2018, the SCF program has removed a total of more than 72,000 appeals

pending at OMHA. Aug. 3, 2018 Griswold Decl. ¶ 4. In addition, the Department recently

expanded SCF to make it available for most appellants not eligible for LVA. Specifically, SCF

is now available for appeals with claims worth up to $1 million, an increase from the previous

cap of $100,000. 5 And, as noted, the SCF program now includes an express SCF option, through

which an eligible provider can receive a settlement offer without undertaking a full negotiation.

McQueen Aug. 3, 2018 Decl. ¶ 6. OMHA previously estimated that LVA and SCF provide

potential settlement relief to approximately 92% of the remaining appeals in the backlog without

program integrity concerns. Griswold Decl. ¶ 4, ECF No. 75-1.

        In short, far from justifying Plaintiffs’ intrusive settlement proposals, the record here

shows that the Department’s settlement initiatives have been many, have expanded over time and




5
  https://www.hhs.gov/about/agencies/omha/about/special-initiatives/settlement-conference-
facilitation/index.html
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have had demonstrable success: in particular, the settlement of over 465,000 appeals in the

backlog. See supra (HASP settlement of 380,000 appeals, SCF settlements of 72,000 appeals,

and LVA settlement of over 13,300 appeals). Given that record, there is no basis for AHA’s

intrusive, counterproductive mandamus proposal. Moreover, the Secretary respectfully submits

that the Court lacks the authority to require the proposed measures. A court cannot compel an

agency to settle. See Cantu v. United States, 565 F. App'x 7, 9 (D.C. Cir. 2014) (“It is well

established that a court cannot order a party to settle[.]”), see Gevas v. Ghosh, 566 F.3d 717, 719

(7th Cir.2009) (“A judge may not coerce a party into settling.”); In re NLO, Inc., 5 F.3d 154, 157

(6th Cir.1993); Kothe v. Smith, 771 F.2d 667, 669 (2d Cir.1985) (citing MacLeod v. D.C. Transit

Sys., Inc., 283 F.2d 194, 195 n. 1 (D.C.Cir.1960)). This is particularly true where the party is an

Executive Branch agency. See United States v. LaCroix, 166 F.3d 921, 923 (7th Cir.1999). Nor

can the Court prescribe specific programmatic changes as part of ordering mandamus. See AHA

I, 812 F.3d at 191 (while AHA “seeks to compel the agency to make decisions within the

statutory time frames,” AHA acknowledges that “the means the Secretary uses to ensure they are

reached in a timely fashion are discretionary”); Southern Utah, 542 U.S. at 67 (emphasizing the

need to “protect agencies from undue judicial interference with their lawful discretion, and to

avoid judicial entanglement in abstract policy disagreements which courts lack both expertise

and information to resolve”).

       Lastly, AHA requests that the Court order HHS to file settlement reports detailing the

confidential settlement information between the Department and inpatient rehabilitation facilities

(IRFs). Plaintiffs’ Response Regarding Non-Deadline Remedies at 6. Again, these intrusive

reports are unnecessary and predicated on AHA’s unfounded belief that HHS will act in bad faith

in these settlement negotiations. CMS is actively negotiating with IRF representatives and last



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met with them on May 23, 2018 and August 2, 2018. McQueen Aug. 3, 2018 Decl. ¶ 4. The

negotiations were fruitful, and CMS expects that additional settlement meetings will be

scheduled in the upcoming months. If settlement talks are successful, nearly 12,000 IRF appeals

could be removed from the backlog. Id. In the interim, there is no reason to divulge the

settlement communications of non-parties participating in an active settlement negotiation.

AHA’s intrusive settlement-related mandamus remedies would not be helpful and should be

rejected. See CTIA–The Wireless Ass'n , 530 F.3d at 989 (presuming that “executive agency

officials will discharge their duties in good faith”).

       C.      AHA’s Proposal To Reduce The Rate of Interest On Overpayments Would
               Be Unlawful And Make The Backlog Worse.

       By statute, when HHS determines that a provider has been paid money to which it is not

entitled, within 30 days of this overpayment determination, “interest shall accrue on the balance

. . . at a rate determined in accordance with the regulations of the Secretary of the Treasury

applicable to charges for late payment.” 42 U.S.C. § 1395g(d). Under current regulations, this

amount is 10.25%. See https://www.hhs.gov/about/agencies/asfr/finance/financial-policy-

library/interest-rates/index.html; 56 Fed. Reg. 31,332 (July 10, 1991). AHA proposes that this

rate be reduced on overpayments to the London Interbank Offered Rate (LIBOR), which, as of

June 1, 2018, was 2.7%. 6 Plaintiffs’ Response Regarding Non-Deadline Remedies at 8. It is not

possible to implement AHA’s proposal because the Medicare statute requires that the same rate

of interest be applied to overpayments and underpayment determinations, 42 U.S.C. § 1395ddd




6
 http://www.global-rates.com/interest-rates/libor/american-dollar/usd-libor-interest-rate-12-
months.aspx



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(f)(2)(B). Furthermore, HHS’s regulations impose the aforementioned 10.25% rate. 7 Thus,

there are statutory and regulatory limitations on the ability to reduce the current rate of interest

on overpayments to the LIBOR rate. Furthermore, doing so would not reduce the number of

pending appeals at OMHA.

        AHA claims that the current 10.25% rate “creates an incentive for HHS to offer low-ball

settlements or resist potential backlog-reduction efforts.” Plaintiffs’ Response Regarding Non-

Deadline Remedies at 9. That is not the case and ignores the fact the Medicare statute requires

that the same rate of interest be applied to overpayments as to underpayments, i.e., amounts the

Secretary is found to owe providers upon the conclusion of an appeal. 8 See U.S.C. § 1395ddd

(f)(2)(B) (when the Secretary loses on appeal, the “Secretary shall provide for repayment of the

recouped amount plus interest at the same rate as would apply” to the amount determined to be

owed by a provider “where such appeal is against the provider of services or supplier”)

(emphasis added). Given this statutory framework, providers who successfully appeal an

overpayment determination are entitled to be repaid back any monies recouped by the

Department at the current 10.25% rate of interest. Id. Conversely, providers who unsuccessfully

appeal an overpayment determination must pay back any existing overpayment balance at this

same rate of interest. Id. This creates a level, two-way street, in which the Secretary has

appropriate incentives to settle meritorious claims to avoid paying large amounts of interest in

the event he loses on appeal. At the same time, the current interest rate encourages providers not

to file appeals for weak claims.



7
  45 C.F.R. 405.378(d)(1); 56 Fed. Reg. 31,332 (July 10, 1991);
https://www.hhs.gov/about/agencies/asfr/finance/financial-policy-library/interest-
rates/index.html.
8
  It also ignores the fact that many appeals pending at OMHA are pre-payment appeals where
interest is not at issue. See Murray Suppl. Decl. ¶ 28.
                                                  18
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       AHA’s proposal, which is designed to encourage providers to retain overpayments while

an appeal is pending, would make it less costly for providers to file frivolous appeals and would

create new and powerful incentives among the provider community not to settle. Thus, it would

become harder, not easier, to reduce the backlog. See, e.g., Sec’s Reply Br. at 13 (discussing

holdouts from the agency’s HASP settlement). Nor could the flaws in AHA’s proposal be solved

by applying the same lower interest rate to both overpayments and underpayments. This would

create its own set of new and counterproductive incentives. Providers who prevail on appeal

would be paid substantially less in interest under AHA’s proposal than under the current 10.25%

interest rate. And lowering the interest rate on overpayments would, as noted, make it less costly

for a provider to gamble on a weak appeal. Punishing meritorious appeals while at the same time

creating new incentives for providers to file weak appeals are, again, exactly the wrong

incentives to create in order to promote settlement or decrease the backlog.

       AHA repeats its prior arguments that the agency’s demonstration authority permits it to

implement AHA’s proposal. Plaintiffs’ Response Regarding Non-Deadline Remedies at 10. The

Government has responded to these arguments at length before and respectfully refers the Court

to its prior briefing. 9 In short, neither of the demonstration authorities AHA cites would

authorize AHA’s proposed mandamus remedy. 42 U.S.C. § 1395b-1(a)(1)(A) authorizes HHS to

test “methods of payment or reimbursement” which “would have the effect of increasing

efficiency and economy of health services.” CMS has interpreted this authority to involve

demonstrations that test a different way of paying for Medicare services. Supp. Murray Decl.




9
  See Sec’s Reply at 22-23; Sec.’s Mot. for Summ. J. at 12-19, 21-23; Sec’s Reply at 7-8; see
also Nov. 7, 2016 Murray Decl.” ¶¶ 27-36.

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¶ 35, ECF No. 41-1. Reducing the rate of interest that accrues on overpayments does not

demonstrate a different way of paying for Medicare services. Id. Plaintiffs’ proposal is also not

appropriate for a demonstration project under 42 U.S.C. § 1315a, which permits “test[ing]

innovative payment and service delivery models to reduce program expenditures. . . while

preserving or enhancing the quality of care furnished to individuals.” AHA’s proposed

mandamus remedy would encourage more frivolous appeals and discourage settlement, and

would lower the amounts HHS collects when it prevails on appeal. AHA’s proposals would thus

increase program expenditures. HHS also reiterates its position that this Court does not have the

authority to order the agency to exercise its discretion to implement a demonstration project. See

Sec’s Reply in Supp. of Mot. for Summ. J. and Opp. to Pls.’ Cross-Mot. at 22-23.

          In sum, in addition to being contrary to the Medicare statute and the Department’s

regulations, AHA’s interest proposal is entirely unnecessary given the current posture of the case

and would create new incentives that would make it harder to resolve the backlog.

          D.     AHA’s “Rebilling” Proposal Would Not Reduce
                 the Backlog, But Would Make It Worse.

          By statute, a claim for reimbursement of Medicare services must be submitted within one

year of the services being provided. 10 As AHA notes, “[i]n some instances, a claim is denied

because a RAC or other reviewer concludes that a provider should have used a billing code

different than the one submitted.” See Plaintiffs’ Response Regarding Non-Deadline Remedies

at 10. AHA contends that “a provider whose argument for a different code is rejected on appeal

can frequently ‘rebill’ the claim under the reviewer-preferred code and receive some repayment”

before the one-year statutory time limit has expired. Id. at 10-11. According to AHA, “[w]ith



10
     See 42 U.S.C. §§ 1395f(a)(1), 1395n(a)(1), 1395u(b)(3)(B)(ii).


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the backlog, however, providers have been deprived of the ability to rebill following an adverse

ALJ decision because the provider’s claim will always be adjudicated one year after the services

were rendered.” Id. at 11. To supposedly ameliorate this situation, AHA requests that this Court

order HHS to make settlement offers to all providers and suppliers with appeals in the backlog,

in which they would have the right “to rebill denied claims in return for dismissing any pending

appeal related to that claim.” Id. at 10.

       AHA’s proposal would make the backlog worse and is not authorized under current law.

As an initial matter, the prospect that a provider may be unable to rebill after an adverse ALJ

decision is not a creation of the OMHA backlog. Congress permits RACs to review all claims

submitted by a provider within the past four years. 42 U.S.C. § 1395ddd(h)(4)(B). Therefore,

Congress was aware that claims could be denied by RACs well after the one-year statutory time

for a provider to rebill had expired. In addition, the time to ALJ decision — assuming all

decisions are issued in a timely manner and no extensions are granted— can be nearly 600 days.

See Nov. 7, 2016 Murray Decl. at ¶ 43 (citing statutory and regulatory provisions). Clearly, the

situation described by AHA is not a new issue. In fact, in a separate litigation, AHA sought

unsuccessfully to compel the Secretary to issue a regulation to allow for rebilling after the one-

year deadline set by statute. There, it claimed the change was needed “because of the time it

takes RACs to review paid claims,” not because of the backlog. 11 American Hosp. Ass’n v.

Burwell, Civ. No. 12-1770 (D.D.C.), 2d Am. Compl. ¶ 65, ECF No. 26 (April 19, 2013).




11
  The Court in that case rejected AHA’s challenge and dismissed the lawsuit, observing that
Congress had set the review periods for the RACs, and had also vested the discretion to specify
exceptions to the one-year time period for filing claims solely with the agency. See Mem. Op.,
Am. Hosp. Ass’n v. Burwell, Civ. No. 12-1770 (D.D.C., Sept. 17, 2014), ECF No. 55.

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       Further, AHA’s “settlement” proposal is both unhelpful and would not improve the

backlog. A provider who withdraws an appeal in exchange for the right to rebill might still

receive an adverse determination following rebilling. At that point, the provider could

presumably appeal again, producing no net reduction in the backlog. In addition, the most likely

result of AHA’s proposal is that providers will appeal every coding denial, knowing that the

agency will be forced to offer the “settlement” of rebilling if they appeal. AHA acknowledges as

much. It states that it considered requesting that the Court order HHS to allow providers with

appeals in the backlog to have up to six months to rebill, “[b]ut Plaintiffs understand that

allowing rebilling after ALJ appeals are concluded could ultimately add to the backlog by

creating an incentive for providers to appeal every coding denial, knowing that they can rebill

after an appeal.” Plaintiffs’ Response Regarding Non-Deadline Remedies at 11 (emphasis in

original). But that incentive remains whether this particular form of mandamus relief is styled as

a “settlement offer” or not. AHA also acknowledges that it does not even know how many

appeals in the backlog would be eligible for its settlement proposal. Id. In fact, in its brief,

AHA categorizes this proposal as one that would “ameliorate” the backlog’s effect on providers,

not one that would remove pending appeals or prevent new appeals from being filed. See

Plaintiffs’ Response Regarding Non-Deadline Remedies at 6 (section heading).

       Furthermore, through the existing SCF process, appellants have the opportunity to submit

a position paper detailing the claims that could have been payable if the provider had billed with

a different code, which CMS will evaluate in formulating its offer. See McQueen Aug. 3, 2018

Decl. ¶ 5. The existing SCF process is a far better vehicle for reducing the backlog than AHA’s

proposal because SCF results in a single settlement agreement resolving all of the provider’s

pending appeals. AHA’s proposal, in contrast, would allow providers to cherry pick as few as



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one appeal for an individual settlement, diverting resources away from other, more effective

existing settlement initiatives.

          Finally, AHA’s proposed order is not authorized under current law. While HHS can

make exceptions, via formal rulemaking, to the one-year time limit to submit a claim, it has

already determined in notice-and-comment rulemaking not to do so in this situation, see 42

C.F.R. § 424.44(b)(1)-(5); see also 78 Fed. Reg. 50,496, 50,922-23, 26 (Aug. 19, 2013), which

has been upheld by the courts. See American Hosp. Ass’n v. Burwell, Civ. No. 12-1770

(D.D.C.), Mem. Op., ECF No. 75. AHA’s request is also an improper form of mandamus relief

because as already discussed above, a court cannot compel an agency to settle, nor can it

prescribe the means by which an agency complies with a statutory timeframe. AHA I, 812 F.3d

at 191.

          AHA’s “rebilling” order would violate the law and likely make the backlog worse. The

Court should reject this proposed mandamus remedy.

          E.     The Court Should Reject AHA’s Proposal To Toll The Time To File Section
                 340B Hospital Appeals.

          In a separate lawsuit, AHA has brought a challenge to a recent rulemaking by HHS that

adjusts Medicare Outpatient Prospective Payment System (“OPPS”) payments to hospitals under

the Section 340B Drug Discount Program. See Am. Hosp. Ass’n v. Azar, Slip Op. 18-5004 at 11.

(D.C. Cir. July 17, 2018). AHA contends that the OPPS reimbursement change was illegal.

Following the district court’s dismissal of its suit, AHA appealed to the D.C. Circuit, and in the

interim, requested that the Secretary agree to toll the time for Section 340B hospitals to file

administrative appeals. The Secretary refused because OPPS payment adjustments are not

administratively reviewable. AHA now requests that this Court order this tolling as part of its




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proposed mandamus relief in this case while the hospitals await a resolution of the appeal. See

Plaintiffs’ Response Regarding Non-Deadline Remedies at 12-13.

       Shortly after Plaintiffs filed their brief, the D.C. Circuit affirmed the district court’s

dismissal of AHA’s suit on jurisdictional grounds. See Am. Hosp. Ass’n v. Azar, Slip Op. 18-

5004 at 11. (D.C. Cir. July 17, 2018). As we stated in the briefs we filed in the separate AHA

litigation challenging the reimbursement change to 340B hospitals, Congress has expressly

precluded administrative and judicial review of OPPS adjustments meaning that any such

appeals should be summarily dismissed. See Amgen, Inc. v. Smith, 357 F.3d 103, 112 (D.C. Cir.

2004) (applying 42 U.S.C. § 1395l(t)(12) to preclude review of equitable adjustments made to

the OPPS under section 1395l(t)(2)(E)).

       F.      The Court Should Reject AHA’s Proposal That Would Require HHS To
               Seek Leave Before Making Any Changes To Its Programs That
               Impact The Backlog.

       AHA asks this Court to order HHS to “maintain its current efforts to combat the backlog,

including all of the measures outlined in its motion for summary judgment. Dkt. No. 66-1. HHS

may reduce or alter its existing programs to fight the backlog upon application to the Court and

for good cause shown.” Plaintiffs’ Response Regarding Non-Deadline Remedies at 13. AHA

argues that this mandamus remedy is necessary to “ensure that HHS remains committed to its

current efforts by requiring leave of court to alter the programs set forth in HHS’s motion for

summary judgment.” Id. at 14.

       The Court should reject this proposal. The Secretary’s good faith should be presumed,

and there is no reason for entering a mandamus order that will not make it any more likely that

HHS will be able to reduce the backlog. Moreover, HHS is continually looking for new ways to

reduce the backlog. AHA’s proposal to require the Department to receive leave of court based

on a showing of “good cause” (Br. at 13) before it can act would make it harder to implement
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future changes and amount to an unprecedented and intrusive expansion of mandamus.

Mandamus does not authorize a court to stand in the shoes of the Secretary of Health and Human

Services and make predictive judgments about which policy measures will help reduce the

backlog in light of the agency’s other priorities. This proposed mandamus remedy is improper

and unhelpful and should be rejected.

       G.      The Government Is Prepared To File Status Reports.

       Finally, AHA requests that this Court order HHS to submit status reports every 90 days

regarding the status of the backlog, “including the information required by other portions of this

order.” Plaintiffs’ Response Regarding Non-Deadline Remedies at 14.

       The D.C. Circuit stated in AHA I that “if the district court determines on remand that

Congress and the Secretary are making significant process toward a solution, it might conclude

that issuing the writ is premature” and simply order status reports. AHA I, 812 F.3d at 193. The

Secretary submits that Congress’s recent appropriation, along with the Secretary’s other efforts,

constitute more than “significant progress” toward a solution to the backlog problem. Indeed,

the Secretary is now able to project, at current funding levels, that the backlog could be

eliminated in FY 2022. In light of this development, the Court could enter judgment in favor of

the Secretary or order status reports to ensure that the new funding is having the desired effect.

These reports could include updates about the Secretary’s progress at eliminating the backlog as

well as the number of appeals settled within the past reporting period.

                                         CONCLUSION

       For the reasons set forth above, the Court should deny Plaintiffs’ motion for summary

judgment (ECF No. 72), deny Plaintiffs’ non-deadline mandamus remedies (ECF No. 82), and

either grant the Secretary’s motion for summary judgment (ECF No. 66) and dismiss the case or

require no more than periodic status reports.
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Dated August 3, 2018                      Respectfully submitted,

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